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 1
                                   UNITED STATES DISTRICT COURT
 2
                                        DISTRICT OF NEVADA
 3
                                                       )
 4   MARICEL BARTOLOME,                                ) CASE NO.:
                                                       )
                     Plaintiffs,                       )
 5
                                                       )
             v.                                        ) PLAINTIFF’S COMPLAINT
 6
                                                       ) (Telephone Consumer Protection Act)
     CAPITAL ONE BANK (USA) N.A.,                      )
 7
                                                       )
                     Defendant.                        )
 8

 9

10                                                   COMPLAINT

11           NOW COMES Plaintiff, MARICEL BARTOLOME (“Plaintiff”), through her attorneys,

12   and hereby alleges the following against CAPITAL ONE BANK (USA) N.A. (“Defendant”):

13                                                INTRODUCTION

14           1.      Count I of Plaintiff’s Complaint is based on negligent violations of the Telephone

15   Consumer Protection Act 47 U.S.C. § 227 et seq., (TCPA).

16           2.      Count II of Plaintiff’s Complaint is based on knowing and/or willful violations of

17   the Telephone Consumer Protection Act 47 U.S.C. § 227 et seq., (TCPA).

18                                         JURISDICTION AND VENUE

19           3.      Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C.

20   §227(b)(3). See, Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740 (2012), holding that

21   federal and state courts have concurrent jurisdiction over private suits arising under the TCPA.

22           4.      Venue is proper in the United States District Court for the District of Nevada

23   pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within this District and a substantial

24   part of the events or omissions giving rise to the herein claims occurred, or a substantial part of

25   property that is the subject of the action is situated within this District.


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 1                                               PARTIES

 2          5.      Plaintiff is a natural person residing in Clark County, in the city of North Las

 3   Vegas, Nevada.

 4          6.      Defendant is incorporated in Delaware and conducts business in the state of

 5   Nevada. Defendant’s headquarters are located in McLean Virginia.

 6          7.      At all times relevant to this Complaint, Defendant has acted through its agents’

 7   employees, officers, members, directors, heir, successors, assigns, principals, trustees, sureties,

 8   subrogees, representatives and insurers.

 9                                    FACTUAL ALLEGATIONS

10          8.      Defendant is a “person” as defined by 47 U.S.C. § 153 (10).

11          9.      Defendant placed collection calls to Plaintiff seeking and attempting to collect on

12   alleged debts incurred through purchases made on credit issued by Defendant.

13          10.     Defendant placed collection calls to Plaintiff’s cellular telephone at phone

14   number (702) 327-54XX.

15          11.     Defendant placed collection calls to Plaintiff from phone numbers including, but

16   not limited to (800) 955-6600.

17          12.     Per its prior business practices, Defendant’s calls were placed with an automated

18   telephone dialing system (“auto-dialer”).

19          13.     Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C.

20   § 227(a) (1) to place its telephone calls to Plaintiff seeking to collect a consumer debt allegedly

21   owed by Plaintiff, MARICEL BARTOLOME.

22          14.     Defendant’s calls constituted calls that were not for emergency purposes as

23   defined by 47 U.S.C. § 227(b)(1)(A).

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                                                      2

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 1          15.     Defendant’s calls were placed to a telephone number assigned to a cellular

 2   telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §

 3   227(b)(1).

 4          16.     Defendant never received Plaintiff’s “prior express consent” to receive calls

 5   using an automatic telephone dialing system or an artificial or prerecorded voice on her cellular

 6   telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

 7          17.     On or about March 22, 2018, Plaintiff called into Defendant’s company at phone

 8   number (800) 955-6600 and spoke with Defendant’s female representative (“Alexis”) and

 9   requested that Defendant cease calling Plaintiff’s cellular phone.

10          18.     During the conversation on March 22, 2018, Plaintiff gave Defendant her social

11   security number and date of birth to assist Defendant in accessing her account before asking

12   Defendant to stop calling her cell phone.

13          19.     Plaintiff revoked any consent, explicit, implied, or otherwise, to call her cellular

14   telephone and/or to receive Defendant’s calls using an automatic telephone dialing system in her

15   conversation with Defendant’s representative on March 22, 2018.

16          20.     Despite Plaintiff’s request to cease, Defendant continued to place collection calls

17   to Plaintiff after March 22, 2018.

18          21.     Despite Plaintiff’s request that Defendant cease placing automated collection

19   calls, Defendant placed at least seventy-seven (77) automated calls to Plaintiff’s cell phone.

20                                        FIRST CAUSE OF ACTION

21   NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

22                                               47 U.S.C. § 227

23
            22.     Plaintiff repeats and incorporates by reference into this cause of action the
24
     allegations set forth above at Paragraphs 1-21.
25


                                                        3

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 1             23.   The foregoing acts and omissions of Defendant constitute numerous and multiple

 2   negligent violations of the TCPA, including but not limited to each and every one of the above

 3   cited provisions of 47 U.S.C. § 227 et seq.

 4             24.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,

 5   Plaintiff is entitled to an award of $500.00 in statutory damages, for each and every violation,

 6   pursuant to 47 U.S.C. §227(b)(3)(B).

 7             25.   Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the

 8   future.

 9                                    SECOND CAUSE OF ACTION

10    KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER

11                                          PROTECTION ACT

12                                         47 U.S.C. § 227 et. seq.

13
               26.   Plaintiff repeats and incorporates by reference into this cause of action the
14
     allegations set forth above at Paragraphs 1-21.
15
               27.   The foregoing acts and omissions of Defendant constitute numerous and multiple
16
     knowing and/or willful violations of the TCPA, including but not limited to each and every one
17
     of the above cited provisions of 47 U.S.C. § 227 et seq.
18
               28.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
19
     et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
20
     violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
21
               29.   Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the
22
     future.
23
                                            PRAYER FOR RELIEF
24
               WHEREFORE, Plaintiff, MARICEL BARTOLOME, respectfully requests judgment be
25
     entered against Defendant, CAPITAL ONE BANK (USA), N.A., for the following:

                                                       4

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 1                                      FIRST CAUSE OF ACTION

 2          30.    For statutory damages of $500.00 multiplied by the number of negligent

 3   violations of the TCPA alleged herein (77); $38,500.00;

 4          31.    Actual damages and compensatory damages according to proof at time of trial;

 5                                    SECOND CAUSE OF ACTION

 6          32.    For statutory damages of $1,500.00 multiplied by the number of knowing and/or

 7   willful violations of TCPA alleged herein (77); $115,500.00;

 8          33.    Actual damages and compensatory damages according to proof at time of trial;

 9                                    ON ALL CAUSES OF ACTION

10          34.    Actual damages and compensatory damages according to proof at time of trial;

11          35.    Costs and reasonable attorneys’ fees;

12          36.    Any other relief that this Honorable Court deems appropriate.

13                                        JURY TRIAL DEMAND

14          37.    Plaintiff demands a jury trial on all issues so triable.

15                                                 RESPECTFULLY SUBMITTED,

16
     Date: February 20, 2019                       By: /s/ Mathew Higbee
17                                                 Mathew Higbee
                                                   NV State Bar No. 11158
18
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                                        PLAINTIFF’S COMPLAINT
